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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

UNITED CENTRAL BANK,                                     )
                                                         )
                                      Plaintiff,         )      10 C 331
                                                         )
                       vs.                               )      Judge Feinerman
                                                         )
KANAN FASHIONS, INC., CREATIVE                           )
WAREHOUSING (Chicago), LLC, KANAN                        )
CRUISES, INC., KANAN HOLDINGS, LLC,                      )
VARSHA SHAH, and MEHUL SHAH,                             )
                                                         )
                                      Defendants.        )

                             MEMORANDUM OPINION AND ORDER

       Plaintiff United Central Bank (“United”) brought this action against four entities—Kanan

Fashions, Inc. (“Fashions”), Creative Warehousing (Chicago), LLC (“Creative”), Kanan Cruises,

Inc. (“Cruises”), and Kanan Holdings, LLC (“Holdings”)—and two individuals—Varsha Shah

and Mehul Shah—alleging breach of contract and replevin. The case concerns four loans issued

by United’s predecessor, Mutual Bank, to the entity defendants (collectively, “Borrowers”).

Loan No. 1, for $26.5 million, was made to Fashions on June 26, 2006, for the purpose of

maintaining working capital. Loan No. 2, for $591,000, was made to Creative and Fashions on

June 23, 2004, for the purpose of building out Creative’s warehouse. Loan No. 3, for

$1,776,000, was made to Creative and Fashions on June 23, 2004, for the purpose of purchasing

equipment for Creative’s warehouse. Loan No. 4, for $2,320,000, was made to Holdings and

Cruises on March 8, 2005, for the purpose of funding the purchase of a cruise ship.

       Count I of the complaint alleges that the Borrowers” defaulted on the loans by failing to

make payments when due. The answer admits that the Borrowers failed to make payments on


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Loan Nos. 2-4, but as an affirmative defense alleges that United materially breached its

obligations under Loan No. 1, thereby excusing the Borrowers’ alleged default on Loan Nos. 2-

4. The Borrowers also brought counterclaims, including for United’s alleged breach of Loan No.

1. United has moved under Fed. R. Civ. P. 12(c) for partial judgment on the pleadings on Count

I, solely as it pertains to Loan Nos. 2-4, and on the counterclaims. Defendants since have

voluntarily dismissed their counterclaims, so all that remains of United’s motion is the request

for partial judgment on Count I.

       Before addressing that motion, it is necessary to resolve Defendants’ challenge to subject

matter jurisdiction. The complaint invokes the diversity statute, 28 U.S.C. § 1332, alleging that

the amount in controversy exceeds $75,000 and that the parties are diverse, with United being a

Texas citizen and Defendants being Illinois citizens. See Doc. 4, ¶¶ 1, 3-10. Because the

complaint did not properly allege the citizenship of Creative and Holdings, which are limited

liability companies, the court gave United the opportunity to file an addendum making the

proper jurisdictional allegations. See Doc. 203. United filed an addendum (Doc. 214) that

identified the members of Creative and Holdings and alleged that the members are citizens of

Illinois. See Wise v. Wachovia Sec., LLC, 450 F.3d 265, 267 (7th Cir. 2006) (for diversity

purposes, the citizenship of an LLC is the citizenship of its members).

       Although United’s addendum properly alleged Creative’s and Holdings’s citizenship,

Defendants have moved to dismiss for lack of subject matter jurisdiction under Fed. R. Civ. P.

12(b)(1) on a different ground—that United is a citizen of both Texas and Illinois, and thus not

diverse from Defendants. United has responded on the merits, and for good measure has moved

to amend its complaint to provide further detail supporting its position that it is a citizen of

Texas and not Illinois.

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       Defendants’ motion rests on the premise that United is an “association,” not a

corporation. From that premise, Defendants maintain that the citizenship of an association is the

citizenship of its members; that a bank association is a citizen of any state where it has a branch;

that United has branches in Illinois; and therefore that United is a citizen of Illinois as well as of

Texas. United retorts that although it is a “banking association,” Texas law deems a “banking

association” to be a “corporation,” and that because United is organized under Texas law and has

its principal place of business in Texas, it is a Texas citizen only. See 28 U.S.C. § 1332(c)(1) (“a

corporation shall be deemed to be a citizen of any State by which it has been incorporated and of

the State where it has its principal place of business,” with exceptions not pertinent here).

       State law determines whether an entity is a “corporation” for diversity purposes. See

Mut. Serv. Cas. Ins. Co. v. Country Life Ins., 859 F.2d 548, 550 (7th Cir. 1988). A “banking

association,” which United alleges itself to be (see Doc. 377 at 2; Doc. 377-1 at 3), is an entity

recognized by the Texas Finance Code. See V.T.C.A., Fin. Code § 32.001(a) (“One or more

persons, a majority of whom are residents of this state, may organize a state bank as a banking

association or a limited banking association.”). Defendants fixate on the word “association,” but

the Code defines “banking association” to be “a state bank that is organized under this subtitle

as a corporation, authorized to issue shares of stock, and controlled by its shareholders.” Id.

§ 31.002(a)(5) (emphasis added). The Code adds that “[f]or purposes of other state law, a

banking association is considered a corporation,” that “[t]o the extent consistent with this

subtitle, a banking association may exercise the powers of a Texas business corporation,” and

that with inapplicable exceptions, “[t]he [Texas] Business Organizations Code applies to a

banking association as if it were a for-profit corporation.” Id. §§ 32.001(c), 32.008(a).

Consistent with these statutory provisions, United’s predecessor’s “Articles of Association”

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repeatedly refers to the entity as “the corporation” and states that the document’s purposes

include “incorporating and operating the [entity] under and by virtue of the laws of the State of

Texas.” Doc. 377-1 at 6, 9, 11, 16.

       Texas law, then, deems United to be a corporation, which means that United is a citizen

of its state of incorporation (Texas) and the state of its principal place of business (also Texas),

not of the states where it maintains branches. See Mut. Serv. Cas. Ins. Co., 859 F.2d at 550

(holding that Minnesota insurance entity is a “corporation” because Minnesota law considers it

to be a corporation). This conclusion is fully consistent with Wachovia Bank v. Schmidt, 546

U.S. 303 (2006), where the Supreme Court observed:

           A business organized as a corporation, for diversity jurisdiction purposes, is
           “deemed to be a citizen of any State by which it is incorporated” and, since
           1958, also “of the state where it has its principal place of business.”
           § 1332(c)(1). State banks, usually chartered as corporate bodies by a
           particular State, ordinarily fit comfortably within this prescription.

Id. at 306. After articulating this understanding of the citizenship of state banks, the Court

rejected the notion that “a national bank” should be deemed “a citizen of every State in which it

has established a branch,” reasoning that if the notion were accepted, “the access of a federally

chartered bank to a federal forum would be drastically curtailed in comparison to the access

afforded state banks and other state-incorporated entities.” Id. at 307.

       The principle underlying Wachovia Bank is that a state bank is a citizen of its state of

incorporation and its principal place of business, not of the states where its branches are located.

In setting forth this principle, Wachovia Bank ratified what appears to have been the unanimous

consensus among federal courts. See, e.g., Horton v. Bank One, N.A., 387 F.3d 426, 431 (5th

Cir. 2004) (“a state bank, under 28 U.S.C. § 1332(c)(1), may be a citizen of no more than two

states—the state where its principal place of business is located and its state of incorporation”);

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First Ala. Bank of Montgomery, N.A. v. First State Ins. Co., Inc., 899 F.2d 1045, 1049 n.1 (11th

Cir. 1990) (“First Alabama Bank is a state banking association with its principal place of

business in Montgomery, Alabama.”); Johnson Bank v. George Korbakes & Co., LLP, 2005 WL

4983515, at *1 (N.D. Ill. Aug. 3, 2005) (“The Bank is a state banking association, chartered

pursuant to Chapter 221 of the Wisconsin Statutes … [and] maintains its principal place of

business in Racine, Wisconsin.”); RDC Funding Corp. v. Wachovia Bank, N.A., 2004 WL

717111, at *6 (D. Conn. Mar. 31, 2004) (“The location of branch banks does not control the

citizenship of state banks; instead, as with any other diversity question, citizenship is determined

by the bank’s organizational structure. Thus, if a state bank is a corporation, then its citizenship

would be its principal place of business and place of incorporation.”); U.S. Shoe Corp. v. Beard,

463 F. Supp. 754, 755 (S.D. Ala. 1979) (“Defendant Wilcox County Bank was at all times

relevant to the events leading up to the institution of this lawsuit a state banking association

organized under the laws of the State of Alabama with its principal place of business in

Alabama.”); see also Heil v. Iron Cnty., 376 Fed. Appx. 868, 871 (10th Cir. 2010) (in finding

diversity jurisdiction, noting that “the Bank was formed pursuant to Utah’s banking laws and had

its principal place of business in Utah”).

       Defendants cite no case law to the contrary. Instead, they invoke Section 5-116 of the

Uniform Commercial Code, which reads as follows:

           § 5-116. Choice of Law and Forum

           (a) The liability of an issuer, nominated person, or adviser for action or
           omission is governed by the law of the jurisdiction chosen by an agreement
           in the form of a record signed or otherwise authenticated by the affected
           parties in the manner provided in Section 5-104 or by a provision in the
           person’s letter of credit, confirmation, or other undertaking. The
           jurisdiction whose law is chosen need not bear any relation to the
           transaction.

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          (b) Unless subsection (a) applies, the liability of an issuer, nominated
          person, or adviser for action or omission is governed by the law of the
          jurisdiction in which the person is located. The person is considered to be
          located at the address indicated in the person’s undertaking. If more than
          one address is indicated, the person is considered to be located at the
          address from which the person’s undertaking was issued. For the purpose
          of jurisdiction, choice of law, and recognition of interbranch letters of
          credit, but not enforcement of a judgment, all branches of a bank are
          considered separate juridical entities and a bank is considered to be
          located at the place where its relevant branch is considered to be located
          under this subsection.

          (c) Except as otherwise provided in this subsection, the liability of an
          issuer, nominated person, or adviser is governed by any rules of custom or
          practice, such as the Uniform Customs and Practice for Documentary
          Credits, to which the letter of credit, confirmation, or other undertaking is
          expressly made subject. If (i) this article would govern the liability of an
          issuer, nominated person, or adviser under subsection (a) or (b), (ii) the
          relevant undertaking incorporates rules of custom or practice, and (iii) there
          is conflict between this article and those rules as applied to that
          undertaking, those rules govern except to the extent of any conflict with the
          nonvariable provisions specified in Section 5-103(c).

          (d) If there is conflict between this article and Article 3, 4, 4A, or 9, this
          article governs.

          (e) The forum for settling disputes arising out of an undertaking within this
          article may be chosen in the manner and with the binding effect that
          governing law may be chosen in accordance with subsection (a).

U.C.C. § 5-116 (emphasis added); see V.T.C.A., Bus. & Comm. Code § 5-116 (adopting this

UCC provision); 810 ILCS 5/5-116 (same). Defendants interpret the last sentence of subsection

(b)—“For the purpose of jurisdiction, choice of law, and recognition of interbranch letters of

credit, but not enforcement of a judgment, all branches of a bank are considered separate

juridical entities and a bank is considered to be located at the place where its relevant branch is

considered to be located under this subsection”—to say that, for purposes of federal diversity

jurisdiction, a “bank” is a citizen of every state where it has a branch. That cannot possibly be

correct, as Wachovia Bank and the other cases cited above hold that a state bank’s citizenship for

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diversity purposes turns on ordinary principles of corporate citizenship, not on the location of its

branches. Defendants do not cite, and the court is unaware of, any reported decision adopting

their interpretation of Section 5-116(b), and no case where a party even attempted to advance

that interpretation. The likely reason is that the context of Section 5-116 as a whole plainly

shows that the word “jurisdiction” in subsections (a) and (b) connotes not federal subject matter

jurisdiction, but the jurisdiction (state) whose law applies to a given letter-of-credit relationship.

There is no indication in the provision’s text or its Official Comment that the drafters, or the

legislatures of Texas and Illinois, thought that Section 5-116 would govern the citizenship of

state banks for purposes of the federal diversity statute.

        Because diversity jurisdiction lies over this action, Defendants’ motion to dismiss is

denied. To ensure that the pleadings fully reflect the basis for deeming United a citizen of Texas

only, United’s motion to amend the complaint is granted, so that Paragraph 1 now alleges:

“Plaintiff United Central Bank (‘United’) is a state banking association organized and existing as

a Texas corporation under §§ 32.001(a), (c) and 32.008 of the Texas Finance Code, with its

principal place of business at 4555 W. Walnut Street, Garland, Texas 75042.” See Mut. Serv.

Cas. Ins. Co., 859 F.2d at 550 (allowing plaintiff to amend jurisdictional allegations on appeal);

28 U.S.C. § 1653 (“Defective allegations of jurisdiction may be amended, upon terms, in the

trial or appellate courts.”).

        With subject matter jurisdiction secure, the merits of United’s Rule 12(c) motion may be

addressed. As noted above, Defendants admit that the Borrowers failed to make payments on

Loan Nos. 2-4 when due. See Answer ¶¶ 19, 23, 27 (Doc. 28 at 5-8); Counterclaims ¶¶ 29, 42

(Doc. 28 at 28, 32). The Borrowers’ defense turns on what they call a “one contract defense,”

which posits that because all four loans were effectively a single contract, United’s alleged

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breach of Loan No. 1 constitutes a material breach of Loan Nos. 2-4, thereby excusing the

Borrowers from making further payments on Loan Nos. 2-4. See Doc. 125 at 14-15; Answer

¶¶ 19, 23, 27 (Doc. 28 at 5-8); Affirmative Defense ¶ 1 (Doc. 28 at 19); Counterclaims ¶¶ 29, 42

(Doc. 28 at 28, 32). The defense, as Defendants concede, is ineffective unless all four loans are

deemed to be a single contract. See Doc. 125 at 14-15.

       The loan agreements provide that they are governed by Illinois law. See Doc. 4-1 at 10,

28, 38; Doc. 4-2 at 4. “Under Illinois law, ‘where different instruments are executed at the same

time between the same parties for the same purpose and in the course of the same transaction, all

instruments must be read and construed together’ as constituting but one single contract.” Home

Ins. Co. v. Chicago & Nw. Transp. Co., 56 F.3d 763, 766 (7th Cir. 1995) (quoting McKown v.

Davis, 454 N.E.2d 1086, 1088 (Ill. App. 1983)). In Home Insurance Company, the Seventh

Circuit considered whether three contracts between Chicago and North Western Transportation

Company (“CNW”) and Metropolitan Rail-Metra (“Metra”) were effectively a single contract.

The three contracts were: (1) an Equipment Purchase Agreement, dated June 1977, under which

CNW sold commuter railroad equipment to Metra; (2) an Equipment Lease, dated December

1977, under which CNW leased the same equipment back from Metra; and (3) a Purchase of

Service Agreement, dated December 1976, under which CNW provided commuter transportation

services for Metra. Id. at 765. Although the three contracts were between the same two parties,

two of the contracts pertained to the same railroad equipment, and the latest contract referenced

the two earlier contracts, the Seventh Circuit held that they were separate agreements that could

not be deemed a single contract. The court reasoned that “the three agreements were not

executed contemporaneously or entered into in the course of the same transaction,” and that “the



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three documents cover three distinct legal relationships between Metra and CNW with distinct

purposes.” Id. at 766-77.

       The four loan agreements here present an even weaker case for treatment as a single

contract than did the three agreements in Home Insurance Company. As an initial matter, Loan

No. 1—the loan United is alleged to have materially breached, and thus the lynchpin of

Defendants’ “one contract theory”—was entered over a year after Loan No. 4 and two years after

Loan Nos. 2-3. See Doc. 4-1 at 18, 25, 35; Doc. 4-2 at 2. Moreover, Loan No. 1 had a different

purpose than Loan Nos. 2-4: Loan No. 1 was to Fashions for maintaining working capital; Loan

Nos. 2-3 were to Creative and Fashions for building out and purchasing equipment for Creative’s

warehouse; and Loan No. 4 was to Holdings and Cruises for purchasing a cruise ship. See Doc.

4-1 at 21, 27, 37; Doc. 4-2 at 4. Defendants themselves admit that Loan No. 1 had a different

purpose and was entered into at a different time than Loan Nos. 2-4. See Doc. 125 at 15. That

admission alone calls for the same result the Seventh Circuit reached in Home Insurance

Company. Cementing the conclusion is the additional fact, not present in Home Insurance

Company, that the parties to Loan No. 1 (the Bank and Fashions) are different than the parties to

Loan Nos. 2-3 (the Bank, Fashions, and Creative) and Loan No. 4 (the Bank, Holdings, and

Cruises). See Ill. Hous. Dev. Auth. v. LaSalle Nat’l Bank, 487 N.E.2d 772, 776 (Ill. App. 1985)

(“two agreements executed by different parties cannot be regarded as one instrument”); Susmano

v. Assoc. Internists of Chicago, 422 N.E.2d 879, 883 (Ill. App. 1981) (same).

       Defendants put much stock in the loans’ cross-default provisions, under which a given

Borrower’s default on one loan agreement constitutes a breach by that Borrower of the other

loan agreements to which it is a party. In support, Defendants cite In re Apollo Steel Co., 1994

WL 713697 (Bankr. N.D. Ill. Dec. 19, 1994), for the proposition that the presence of cross-

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default provisions in two agreements creates a question of fact as to whether the agreements

should be deemed a single contract. Apollo Steel does say that “the various contemporaneous

agreements [at issue there] include cross-collateral and cross-default provisions that could be

argued to implicate a single monetary obligation,” thus making the separateness of the

agreements a triable fact. Id. at *6. But the agreements in Apollo Steel were entered into by the

same two parties on the same day, and both had the same purpose—easing a business partner out

of stock ownership and into a consulting arrangement. Id. at *1-2. Absent those circumstances,

the mere presence of cross-default provisions would not have sufficed to render the agreements a

single contract. See Ill. Hous. Dev. Auth., 487 N.E.2d at 776 (“Notwithstanding plaintiff’s

argument that form should not be elevated over substance, the fact that the trust agreement may

have been drafted with the interests of [a third party] in mind does not make [it] a party to the

trust agreement.”). Defendants have not identified, and the court has not found, any authority

holding on such a slim reed that two or more instruments constitute a single contract. To render

such a holding in this case would be incompatible with the Seventh Circuit’s decision in Home

Insurance Company.

       In sum, because the Borrowers admit that they failed to pay the amounts due and owing

on Loan Nos. 2-4, and because the Borrowers’ lone defense fails as a matter of law, United is

entitled to partial judgment on the pleadings on Count I of the complaint as it pertains to Loan

Nos. 2-4. United’s motion is denied as moot as it pertains to the counterclaims, which

Defendants have dismissed. Moreover, as held above, Defendants’ motion to dismiss for lack of




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subject matter jurisdiction is denied, and United’s motion for leave to amend its complaint is

granted.



February 18, 2011
                                                      United States District Judge




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